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 1   Bruce Locke (#177787)
 2   Moss & Locke
 3   4359 Town Center Blvd., #114-59
 4   Eldorado Hills, CA 95762
 5   916-719-3194
 6   Attorneys for Jeffrey Grady
 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                           No. 15-CR-204 TLN
12                   Plaintiff,
13         v.                                 STIPULATION ANDORDER
                                              CONTINUING THE STATUS
14   JEFFREY GRADY,                           CONFERENCE SET FOR JANUARY
                                              18, 2018 TO FEBRUARY 22, 2018
15                   Defendants.              AT 9:30 A.M.
16

17
            IT IS HEREBY STIPULATED AND AGREED between the defendant,
18
     Jeffrey Grady, by and through his undersigned defense counsel, and the United
19
     States of America, by and through its counsel, Assistant U.S. Attorney Matthew
20
     Morris, that the status conference presently set for January 18, 2018 should be
21
     continued to February 22, 2018 at 9:30 a.m., and that time under the Speedy Trial
22
     Act should be excluded from January 18, 2018 through February 22, 2018.
23
           The reason for the continuance is that undersigned counsel has resigned from
24
     the Federal Defenders Panel and additional time is needed for the attorney selected
25
     by the Federal Defender to prepare and file a substitution of attorney. New defense
26
     counsel will then need time to review the discovery and to discuss a schedule with
27
     Mr. Morris.
28
                                              1
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 1         Additionally, the continuance is necessary to ensure continuity of counsel.
 2   Accordingly, the time between January 18, 2018 and February 22, 2018 should be
 3   excluded from the Speedy Trial calculation pursuant to Title 18, States Code,
 4   Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties
 5   stipulate that the ends of justice served by granting this continuance outweigh the
 6   best interests of the public and the defendants in a speedy trial. 18 U.S.C.
 7   §3161(h)(7)(A). Mr. Morris has authorized Mr. Locke to sign this pleading for him.
 8   DATED: January 16, 2018                 /s/ Bruce Locke
                                             BRUCE LOCKE
 9                                           Attorney for Jeffrey Grady
10

11   DATED: January 16, 2018                 /s/ Bruce Locke
                                             For MATTHEW MORRIS
12                                           Attorney for the United States
13

14
           The Court finds, for the reasons stated above, that the ends of justice served
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     by granting this continuance outweigh the best interests of the public and the
16
     defendants in a speedy trial, and, that the time between January 18, 2018 and
17
     February 22, 2018 should be excluded from the Speedy Trial calculation pursuant
18
     to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense
19
     preparation, and therefore.
20
           IT IS SO ORDERED.
21

22
     DATED: January 16, 2018_____
23

24
                                                       ________________
25                                    UNITED STATES DISTRICT JUDGE
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